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                                 UNITED STATES DISTRICT COURT
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                    NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO
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     IN RE: CATHODE RAY TUBE (CRT)                 Master File No. 3:07-cv-05944-SC
14   ANTITRUST LITIGATION                          MDL No. 1917

15   ___________________________________           The Honorable Samuel Conti

16   This Document Relates to:                     Individual Case No. 3:14-cv-02510

17                                                 [PROPOSED] ORDER GRANTING
                                                   VIEWSONIC CORPORATION’S
18   ViewSonic Corporation v. Chunghwa             ADMINISTRATIVE MOTION TO FILE
     Picture Tubes, Ltd. et al., No. 14-cv-02510   UNDER SEAL PURSUANT TO CIVIL
19                                                 LOCAL RULES 79-5(d) AND 7-11

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                                                                       [PROPOSED] ORDER GRANTING
                                                                  ADMIN. MOTION TO FILE UNDER SEAL
                                                                    MASTER FILE NO. 3:07-CV-05944-SC
     DCACTIVE-29154467.1
       Case 3:07-cv-05944-JST Document 2932 Filed 10/22/14 Page 2 of 2



 1
             Upon consideration of ViewSonic Corporation’s Administrative Motion to File Under
 2
     Seal Pursuant to Civil Local Rules 79-5(d) and 7-11, submitted in connection with its Motion for
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     Leave to File a Surreply in Opposition to the Panasonic Defendants’ Motion to Dismiss and to
 4
     Compel Arbitration, it is hereby ORDERED that the motion is GRANTED. The Clerk shall file
 5
     and maintain under seal the following documents or portions of documents:
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     Document                                            Sealed Portions (Page:Line)
 7   ViewSonic Corporation’s Surreply in                 1:4-6
 8   Opposition to the Panasonic Defendants’             2:8-10, 13-14, 19-23
     Motion to Dismiss and to Compel Arbitration         3:2-3, 8-9, 22-23
 9                                                       4:11-18

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     IT IS SO ORDERED.
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13          October 21, 2014
     Dated: _____________
                                                 Hon. Samuel Conti
14                                               United States District Judge
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                                                                            [PROPOSED] ORDER GRANTING
                                                   -1-                 ADMIN. MOTION TO FILE UNDER SEAL
                                                                         MASTER FILE NO. 3:07-CV-05944-SC
     DCACTIVE-29154467.1
